Case 2:04-cr-20415-.]PI\/| Document 90 Filed 08/29/05 Page 1 of 3 Page|D 110

 

HMDHL
IN 'I`HE UNI'I'ED STATES DISTRICT COURT " ' ---...D.Q
FOR 'I'HE WESTERN DIS'I`RICT OF TENNESSEEUSAUG
wEsTERN DIvIsION 29 AH 5:|,2
FFR‘:);}M\¢L v

915%%§ DBrmcrowqy

UNI’I`ED STATES OF AMERICA
Piaintiff,

criminal NO. §§é;-ZMD¥V§;'Mi

( 3 0 -Day Cont.inuance)

¢/%ALACDAJ CfL!i*/

 

 

 

 

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Defendant (s) .

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXC'LUSION OF' 'I`IME

 

As indicated. by' the signatures helow, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this Case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:OO a.m. on Fridav, SeDtember 23, 2005, with trial to take place
on the 0ctober, 2005 rotation Calendar With the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Th\s document entered on the docket shea in compliance 0
with Rula 55 and/or 32(b) FRCrP on 8 ‘ E:Qé

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SO ORDERED this 26th day Of August, 2005.

MQQ

 

J PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

 

 

 

 

 

Counsel for Defendant(s)

UNITED sTESAT DISTRIC COURT - WESRTE DISTRICT TENNESSEE

  

thice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 2:04-CR-20415 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

   
 

 

Arthur E. Quinn

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

